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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA, : 22criL05 (DLC)
“Vo : ORDER

JAMES VELISSARIS,
Defendant.

DENISE COTE, District Judge:

On April 7, 2023, the defendant was sentenced principally
to a term of 180 months’ imprisonment. On June 13, the
Government submitted a letter in support of a restitution order.
The defendant filed a responsive letter on June 20,

18 U.S.C. § 3664 imposes a deadline for a district court to
order restitution of 90 days after sentencing. “[S]o long as
the district court makes clear prior to the deadline expiring
that it intends to impose restitution, a sentencing court that
misses the 90-day deadline nonetheless retains the power to

order restitution.” United States v, Mcintosh, 58 F.4th 606,

610 (2d Cir. 2023} (citation omitted).
Having reviewed the parties’ submissions, it is hereby
ORDERED that an order of restitution shall be entered in
this case.
IT IS FURTHER ORDERED that the parties shail confer

regarding a process for determining the reasonableness of the
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attorneys’ fees sought and, by July 6, make a proposal to the
Court regarding such process.

IT IS FURTHER ORDERED that, should the Government wish to
file a reply to the defendant’s June 20 letter, it shall do so
by July 14.

Dated: New York, New York
June 27, 2023

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Ab sess Gs 0
DEIN TSE COTE
United States District Judge
